     Case 4:18-cv-01096 Document 1 Filed on 04/06/18 in TXSD Page 1 of 8




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

MOL (AMERICA), INC.                              §
                                                 §
                     Plaintiff                   §          C. A. NO. _ _ __
v.                                               §          JURY DEMAND
                                                 §
HEPTA RUN, INC.                                  §
                     Defendant                   §
                                                 §


                                          COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, MOL (America), Inc. (also called "MOL"), Plaintiffin the above-entitled

and numbered cause, complaining of Hepta Run, Inc., also called "Hepta Run" or "Defendant"

herein, and in support would show the Court as follows:

                                                I.

1.     Plaintiff, MOL (America), Inc. is a Delaware corporation or similar entity, headquartered

in New Jersey, which was the shipper or consignee of the cargo in question and brings this action

on its own behalf, and on behalf of, and for, the interests of all parties who may be or become

interested in the goods in question. MOL has become the interested party regarding the loss in

question due to its contractual obligations to Nike USA, Inc., the owner of the goods in question.

                                                II.

2.     Defendant, Hepta Run, Inc. ("Hepta Run"), was and now is a Texas corporation, or

similar entity, registered with the U.S. Department of Transportation, with the power to sue and

be sued, which regularly does business in Texas, and/or the United States, as an interstate carrier

of goods, which is headquartered in Houston, Texas and maintains a designated agent on whom

service may be made, and thus may be served, in care of its Texas Registered Agent: Ed Tseng,

3400 Rogerdale Rd., Houston TX 77042.
     Case 4:18-cv-01096 Document 1 Filed on 04/06/18 in TXSD Page 2 of 8




                                           III.
                                 JURISDICTION AND VENUE

3.     This Court has subject matter jurisdiction under Diversity Jurisdiction, 28 USC Sec.

1332, as the parties Plaintiff and Defendant are in complete diversity of citizenship and the

amount in controversy exceeds $75,000.00.

4.     Venue is proper in the Southern District of Texas - Houston Division, because defendant

has is headquartered in Houston, Texas which is within the Southern District of Texas.

                                             IV.
                                           GENERAL


5.     Whenever Plaintiff alleges that Defendant did any act or thing, it is meant that

Defendant's officers, agents, servants, employees or representatives, did such act or thing, and

that at the time such act, or thing, was done with the full authorization or ratification of the

Defendant, or done in the normal and routine course and scope of employment of Defendant's

officers, agents, servants, employees or representatives.

                                                v.
              FACTS AND FIRST CAUSE OF ACTION UNDER BAILMENT


6.     On or before June 7, 2017 Hepta Run, acting as an interstate carrier and/or bailee, entered

into a contract with MOL for the overland carriage and delivery of various MOL items, including

Nike sportswear in containers, for a cost to be paid by MOL.

7.     On or about June 7 and 8, 2017, Hepta Run received, in Houston, Texas, in good order

and condition, a consignment of Nike sportswear in four containers (hereafter also "goods"),

which were to be delivered as specified by Plaintiff to Academy Sports & Outdoors, "Academy"

distribution facilities. These goods were to be carried by Hepta Run, and then delivered at

                                                 2
     Case 4:18-cv-01096 Document 1 Filed on 04/06/18 in TXSD Page 3 of 8




MOL's instruction, in the same quantity and in the same good order condition as they were

received. MOL had entered a Uniform Intermodal Carriage and Facilities Access agreement

with Hepta Run, and expected the goods to be safely kept from theft while in their possession.

Hepta Run received the goods in good order and condition and Hepta Run was obligated to

safely redeliver the goods, in the same number, and in good order and condition.

8.     Defendant, Hepta Run, acting as an interstate carrier, and/or bailee, undertook carriage

and delivery responsibilities under instruction of MOL. However, upon demand made by MOL,

Hepta Run did not redeliver the goods in the same quantity, and in good order and condition, as

they were received by Hepta Run. The goods were reportedly stolen on June 19, 2017 during

Hepta Run's possession of same.         The short delivery of the goods was caused due to the

negligence of Hepta Run. The monetary loss incurred by Plaintiff's as a result of the loss or theft

of the goods in Hepta Run's possession was $1,471,185.06, for which Plaintiff demands

recovery from Defendant.
                                              VI.
                                          NEGLIGENCE

9.     Defendant Hepta Run undertook duties as an entity which would:

       1.       provide a safe truck carriage and delivery of the goods entrusted to thgem,

       2.       institute certain procedures and utilize certain equipment which would be

       designed to prevent theft,

       3.       employ security personnel and instruct its employees in procedures to prevent

       theft,

       4.       prevent unauthorized access to Plaintiff's containers in their care, custody and

       control, and /or

       5.       insure exclusive delivery of the goods at the instruction of Plaintiff only.


                                                  3
      Case 4:18-cv-01096 Document 1 Filed on 04/06/18 in TXSD Page 4 of 8




10.     The goods were negligently cared for, and unauthorized individuals were permitted

access to the four containers of goods. Indeed, they were delivered to the incorrect consignees,

stolen, misappropriate, and/or Hepta Run utilized the goods for impermissible purposes of their

own choosing, of which Plaintiff did not approve.

11.     Hepta Run was negligent in instruction of its own personnel, and the instruction of others

whom they employed to assist Hepta Run in its transit theft prevention efforts. Hepta Run was

also negligent in their carriage, handling, and/or protection of the Nike sportswear from theft or

misappropriation.

12.     Defendant Hepta Run was negligent as follows:

        1.     for failing to take adequate precautions to prevent access to the containers by

               unauthorized persons,

        2.     for failure to utilize certain equipment which would be designed to prevent theft,

       3.      for failing to employ adequate security personnel and properly instruct its

               employees in procedures to prevent theft,

       4.      for negligent entrustment of its theft prevention responsibilities to third parties

               which were were ill-equipped for, and/or were under-informed concerning theft

               prevention methods and equipment, and

       5.      for negligent instruction of those they hired.

13.    These acts and/or omissions constituted a breach of the duties of care owed by

Defendants, Hepta Run, acting as interstate carriers and/or bailees, to Plaintiff, and/or

proximately caused the theft of the Nike sportswear during the transit in question.




                                                 4
      Case 4:18-cv-01096 Document 1 Filed on 04/06/18 in TXSD Page 5 of 8




                                              VII
                                   RES IPSA LOQUITUR COUNT
14.        Plaintiff further relies on the doctrine of res ipsa loquitur, as the Nike sportswear in four

containers was lost due to theft while within the care and/or custody ofthe Defendant, which, in

the ordinary course of events, would not have occurred without negligence on the part of the

Defendant, which negligence proximately caused the loss of plaintiffs goods during carriage of

those goods.


                                              VIII.
                                        CONTRACT BREACH

15.        In the alternative, and without waiving the above causes of action, Defendant, acting as a

interstate carrier or bailee agreed to: 1) provide safe carriage for Plaintiff's bailed goods, 2)

prevent unauthorized access to Plaintiffs containers in Hepta Run's care, custody and control,

and 3) insure exclusive delivery of the goods at the instruction of Plaintiff only, and/or 4) prevent

any other potential activity which an interstate carrier knows, or should have known, might

permit unauthorized access to Plaintiffs goods while they were in Hepta Run's custody and

control.

16.    Defendant is also liable for negligent instruction of its employees, and/or negligent

entrustment of the goods to third-parties and/or cargo handlers, to whom they may have

entrusted control over Plaintiffs containers. Defendants failed to deliver the goods in the same

number as were received. Defendant thus breached their contract(s), their bailment contract(s),

and/or their duties as interstate carriers, and have violated their duties and obligations as security

providers for those goods entrusted to them, which breach(es) proximately caused the Nike

sportswear to be lost while in their care, custody and control.



                                                    5
      Case 4:18-cv-01096 Document 1 Filed on 04/06/18 in TXSD Page 6 of 8




                                     IX.
                VIOLATION OF DUTY UNDER STANDARD OF CARE


        17.    Defendant Hepta Run, acting as a interstate carrier or bailee had a duty to: 1)

provide a safe carriage of Plaintiffs bailed goods, 2) prevent unauthorized access to Plaintiff's

containers in Hepta Run's care, custody and control, 3) utilize certain equipment which would be

designed to prevent theft, 4) employ security personnel and instruct its employees in procedures

to prevent theft, 5) insure exclusive delivery of the goods at the instruction of Plaintiff only, 6)

prevent the Nike sportswear from being placed into service for Hepta Run, or other parties, for

their own purposes, and/or 7) prevent any other potential activity which an interstate carrier

knows, or should know, might permit unauthorized access to Plaintiff's goods while they were in

Hepta Run's custody and control. As an interstate carrier and/or bailee, Hepta Run failed to

exercise the requisite care and protection of the goods, failed to properly instruct others, and/or

failed to safely deliver the goods from their carriage in the same number and condition as they

received them. Defendants thus breached their duties as an interstate carrier, and/or bailee,

which breach proximately caused the loss of the goods in question.


                                      X.
                         AD DAMNUM CLAUSE AND CLAIM FOR
                                ATTORNEY'S FEES

18.    As a direct result of the activities above, Plaintiff suffered losses in the amount of

$1,471,185.06, as nearly as same can now be estimated. Plaintiff retained the undersigned

attorneys to present their claims to Defendant, and their claims have been presented to

Defendant.    However, the claims have not been paid, although duly demanded.              Therefore,

pursuant to Chapter 38 of the Tex. Civ. Prac. & Rem. Code Ann., Plaintiff further seeks

                                                  6
      Case 4:18-cv-01096 Document 1 Filed on 04/06/18 in TXSD Page 7 of 8




reasonable attorney's fees in the amount of $300,000.00. Plaintiff further seeks all reasonable

attorney's fees incurred in any future appeals.

                                         XII.
                            CONDITIONS PRECEDENT SATISFIED

19.     Plaintiff has performed all conditions precedent necessary to allow recovery.

                                                 XII.
                                            JURY DEMAND

20.     Plaintiff requests trial by jury.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court issue a

summons to Defendant Hepta Run, requiring them to appear, and that this Court award judgment

to Plaintiff and against Defendant, including damages of $1,471,185.06, reasonable attorney's

fees of $300,000.00, pre-judgment interest, post-judgment interest, costs of the court, all

reasonable attorney's fees incurred in any future appeals, and such other and further relief to

which Plaintiff may show itself to be justly entitled.




                                                         Texas Bar No.: 13057830
                                                         DANIELA OLIVEIRA
                                                         SDTX I.D. No.: 1314516
                                                         Texas Bar No. 24075837
                                                         55 Waugh Dr, Suite 1200
                                                         Houston, Texas 77007
                                                         Telephone: (713) 222-1515
                                                         Direct Line: (281) 457-2287
                                                         Telefax: (713) 222-1359
                                                         Email: dmartin@hillrivkins.com

                                                         ATTORNEYS IN CHARGE FOR

                                                  7
    Case 4:18-cv-01096 Document 1 Filed on 04/06/18 in TXSD Page 8 of 8




                                         PLAINTIFF MOL (AMERICA), INC.

OF COUNSEL:

HILL RIVKINS LLP




                                     8
